                                          Case 5:21-cv-04978-SVK Document 27 Filed 01/13/22 Page 1 of 1




                                   1                                   UNITED STATES DISTRICT COURT

                                   2                                  NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     ERIC BARNES, et al.,                               Case No. 21-cv-04978-SVK
                                                        Plaintiffs,                         ORDER REASSIGNING CASE
                                   5
                                                 v.
                                   6

                                   7     IOVATE HEALTH SCIENCES U.S.A.,
                                         INC.,
                                   8                    Defendants.
                                   9

                                  10          On December 13, 2021, the Honorable Lucy H. Koh’s nomination to the United States

                                  11   Court of Appeals for the Ninth Circuit was confirmed by the United States Senate.

                                  12          Accordingly, IT IS ORDERED that this case is reassigned to the Honorable Susan van
Northern District of California
 United States District Court




                                  13   Keulen in the San Jose division for all further proceedings. Counsel are instructed that all future

                                  14   filings shall bear the initials SVK immediately after the case number.

                                  15           All hearing and trial dates presently scheduled remain unchanged, but may be reset as

                                  16   necessary by separate order of the Honorable Susan van Keulen. Existing briefing schedules for

                                  17   motions remain unchanged. Other deadlines such as those for ADR compliance and discovery

                                  18   cutoff also remain unchanged.

                                  19

                                  20   Dated: 1/13/2022                                  FOR THE EXECUTIVE COMMITTEE

                                  21

                                  22
                                                                                         Richard Seeborg
                                  23                                                     Chief District Judge
                                  24

                                  25

                                  26
                                  27

                                  28
